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                                                                                          pi\,'
                   IN THE UNITED STATES DISTRICT COURT
                                                                    ai9.ILlL;?3 SH||;59
                 FOR THE SOUTHERN DISTRICT OF GEORGIA

                            SAVANNAH DIVISION
                                                                      SO.DiS


THE UNITED STATES OF AMERICA,

                   Plaintiff,
V.                                                4:19CR66


HOUSTIN SCHLERNITZAUER,

                Defendant.




                                 ORDER




      Counsel in the above-captioned case have advised the Court

that all pretrial motions have been complied with and/or that all

matters   raised    in   the parties' motions have been resolved by

agreement.     Therefore,    a   hearing     in    this      case     is    deemed

unnecessary.    All motions are dismissed.



      SO ORDERED, this           day of July, 2019.



                                   IRISTOP}
                                  UNITED STATES MAGISTRATE JUDGE
                                  SOUTHERN    DISTRICT OF GEORGIA
